                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:05CR258-2-V

UNITED STATES OF AMERICA                                )
                                                        )
              Plaintiff,                                )
                                                        )
              vs.                                       )              ORDER
                                                        )
ROBERT JAMES CRISP,                                     )
                                                        )
              Defendant.                                )
                                                        )

       THIS MATTER is before the Court on its own motion. On September 7, 2007,

Defendant filed a Motion for a New Trial Pursuant to Rule 33 and a Memorandum in Support.

Documents #210, 211. The Government has not filed a response to this Motion.


       IT IS, THEREFORE, ORDERED that the Government file a response to this Motion

by December 17, 2007.



                                             Signed: November 15, 2007




                                             1


   Case 5:05-cr-00258-FDW-DSC          Document 221         Filed 11/15/07     Page 1 of 1
